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                                                          5

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                                                          7                            UNITED STATES DISTRICT COURT
                                                          8                                   DISTRICT OF ARIZONA
                                                          9
                                                               Robert McCoy, an individual,                  No.
                                                         10
                                                                                      Plaintiff,
                                                         11                                                  Complaint
                                                               v.
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                                                         12
                         Scottsdale, Arizona 85251




                                                               Petwin Hayden, LLC, an Arizona limited
                                                         13    liability company,
                                                         14                           Defendant.
                                                         15

                                                         16          Plaintiff Robert McCoy (“McCoy”) brings an action for injunctive relief,
                                                         17   compensatory damages, and attorneys’ fees and costs pursuant to: (1) Title III of the
                                                         18   Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. and its implementing regulations
                                                         19   (collectively, the “ADA”), and (2) the Arizonans with Disabilities Act, A.R.S. Title 41,
                                                         20   Chapter 9, Article 8, §§41-1492 et seq. and its implementing regulations, R10-3-401 et seq.
                                                         21   (collectively, the "AzDA”), against Defendant Petwin Hayden, LLC (“Petwin”), and in
                                                         22   support of this action alleges as follows:
                                                         23                                        Nature of the Action
                                                         24          1.     McCoy is a disabled United States veteran that resides in Maricopa County,
                                                         25   Arizona.
                                                         26          2.     McCoy visited Petwin’s property located at 3260 North Hayden Road,
                                                         27   Scottsdale, Arizona 85251, and was denied full access to the property.
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                                                          1          3.     Petwin violated the ADA and the AzDA by failing to design, construct,
                                                          2   and/or own or operate a public accommodation that is fully accessible to, and independently
                                                          3   usable by, disabled people such as McCoy.
                                                          4          4.      McCoy therefore seeks a declaration that Petwin’s public accommodation
                                                          5   violates federal and Arizona laws and an injunction requiring Petwin to install means of
                                                          6   access in compliance with ADA and AzDA requirements so that its facility is fully accessible
                                                          7   to, and independently usable by, disabled individuals.
                                                          8          5.     McCoy further requests that, given Petwin’s historical failure to comply with
                                                          9   the ADA's and AzDA’s mandates, the Court retain jurisdiction over this matter for a period
                                                         10   of time to be determined to ensure that Petwin comes into compliance with the ADA and
                                                         11   the AzDA, and to ensure that Petwin has adopted and is following an institutional policy
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                                                         12   that will, in fact, cause Petwin to remain in compliance with the law.
                         Scottsdale, Arizona 85251




                                                         13                                              Parties
                                                         14          6.     McCoy is a resident of Arizona and a disabled individual with the meaning
                                                         15   of the ADA and the AzDA.
                                                         16          7.     Petwin is an Arizona limited liability company.
                                                         17          8.     Petwin owns and/or operates an office complex located at 3260 North
                                                         18   Hayden Road, Scottsdale, Arizona 85251, which is a place of public accommodation under
                                                         19   the ADA and the AzDA.
                                                         20                                    Jurisdiction and Venue

                                                         21          9.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42

                                                         22   U.S.C. § 12188.

                                                         23          10.    McCoy's claims in this Complaint arose in this judicial district and Petwin

                                                         24   owns real property and does substantial business in this judicial district.

                                                         25          11.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)

                                                         26   because this is the judicial district in which a substantial part of the acts and omissions

                                                         27   giving rise to the claims occurred.

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                                                                                    The ADA and its Implementing Regulations
                                                          1
                                                                     12.     The ADA is a comprehensive civil rights law prohibiting discrimination on
                                                          2
                                                              the basis of disability.
                                                          3
                                                                     13.     The ADA broadly protects the rights of individuals with disabilities in
                                                          4
                                                              employment, access to state and local government services, places of public
                                                          5
                                                              accommodation, transportation, and other important areas of American life.
                                                          6
                                                                     14.     Title III of the ADA prohibits discrimination in the activities of places of
                                                          7
                                                              public accommodation and requires places of public accommodation to comply with ADA
                                                          8
                                                              standards and to be readily accessible, and independently usable by, individuals with
                                                          9
                                                              disabilities. See 42 U.S.C. §§ 12181-89.
                                                         10
                                                                     15.     Title III states, inter alia, that "[i]t shall be discriminatory to afford an
                                                         11
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                                                              individual or class of individuals, on the basis of a disability . . . with the opportunity to
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                                                         12
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                                                              participate in or benefit from a good, service, facility, privilege, advantage, or
                                                         13
                                                              accommodation that is not equal to that afforded to other individuals." 42 U.S.C. §
                                                         14
                                                              12182(b)(1)(A)(ii). In addition, § 12182(b)(1)(A)(iii) and § 12182(b)(1)(B)] are intended to
                                                         15
                                                              prohibit exclusion and segregation of individuals with disabilities and the denial of equal
                                                         16
                                                              opportunities enjoyed by others. See 28 C.F.R. pt. 36, app. C (2011).
                                                         17
                                                                     16.     On July 26, 1991, the Department of Justice (the "DOJ") issued rules
                                                         18
                                                              implementing Title III of the ADA, which are codified at 28 CFR Part 36.
                                                         19
                                                                     17.     Appendix A of the 1991 Title III regulations (republished as Appendix D to
                                                         20
                                                              28 CFR part 36) contains the ADA standards for Accessible Design (the “1991 Standards”),
                                                         21
                                                              which were based upon the Americans with Disabilities Act Accessibility Guidelines (the
                                                         22
                                                              “1991 ADAAG”) published by the Access Board on the same date.
                                                         23
                                                                     18.     In 1994, the Access Board began the process of updating the 1991 ADAAG
                                                         24
                                                              by establishing a committee composed of members of the design and construction
                                                         25
                                                              industries, the building code community, and state and local governmental entities, as well
                                                         26
                                                              as individuals with disabilities.
                                                         27
                                                                     19.     In 1999, based largely on the report and recommendations of the advisory
                                                         28

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                                                          1   committee, the Access Board issued a notice of proposed rulemaking to update and revise
                                                          2   its ADA and ABA Accessibility Guidelines.
                                                          3          20.     The Access Board issued final publication of revisions to the 1991 ADAAG
                                                          4   on July 23, 2004 (the "2004 ADAAG").
                                                          5          21.     On September 30, 2004, the DOJ issued an advanced notice of proposed
                                                          6   rulemaking to begin the process of adopting the 2004 ADAAG.
                                                          7          22.     On June 17, 2008, the DOJ published a notice of proposed rulemaking
                                                          8   covering Title III of the ADA.
                                                          9          23.     The revisions to the 1991 ADAAG culminated with the DOJ' s issuance of
                                                         10   The 2010 Standards for Accessible Design (the "2010 Standards"). DOJ published the
                                                         11   Final Rule detailing the 2010 Standards on September 15, 2010. The 2010 Standards
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                                                         12   consist of the 2004 ADAAG and the requirements contained in subpart D of 28 CFR part
                         Scottsdale, Arizona 85251




                                                         13   36.
                                                         14                       The AzDA and its Implementing Regulations
                                                         15          24.     The AzDA and its implementing regulations, §§ 41-1492 et seq. and R10-3-
                                                         16   401 et seq. provide similar prohibitions and remedies to the ADA and its implementing
                                                         17   regulations.
                                                         18                                      General Allegations
                                                         19          25.     On or about August 14, 2016, McCoy visited Petwin’s office complex located
                                                         20   at 3260 North Hayden Road, Scottsdale, Arizona 85251 (the “Premises”). Attached to this
                                                         21   Complaint as Exhibit A are photographs taken the day that McCoy visited the Premises.
                                                         22          26.     McCoy found that the Premises was not accessible to individuals with
                                                         23   disabilities because the parking lots at the Premises violate the 1991 Standards and/or the
                                                         24   2010 Standards of the ADA (as adopted by the AzDA). Specifically, among other
                                                         25   violations, the parking lots at the Premises fail to identify van parking spaces by the
                                                         26   designation “van accessible.”
                                                         27          27.     McCoy therefore has actual knowledge of at least one barrier preventing
                                                         28   disabled individuals accesses to the parking lots at the Premises. Therefore, individuals with

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                                                          1   disabilities are currently deterred from visiting Petwin’s public accommodation by
                                                          2   accessibility barrier(s).
                                                          3          28.     Upon information and belief, there are other violations and barriers to access
                                                          4   that will be discovered and disclosed during the discovery and disclosure process.
                                                          5          29.     Without the presence of adequate handicapped parking spaces, sufficient
                                                          6   designation or signage, and or sufficient disbursement of such parking spaces, individuals
                                                          7   with disabilities are prevented from equal enjoyment of the Petwin’s public
                                                          8   accommodation.
                                                          9          30.     As a result of Petwin’s non-compliance with the ADA and the AzDA,
                                                         10   individuals with disabilities will avoid and not visit Petwin’s public accommodation in the
                                                         11   future unless and until all ADA and AzDA violations have been cured.
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                                                         12          31.     The existence of barriers deters individuals with disabilities from conducting
                         Scottsdale, Arizona 85251




                                                         13   business or returning to Petwin’s public accommodation.
                                                         14          32.     Upon information and belief, other disabled persons are also deterred from
                                                         15   visiting there or otherwise precluded from frequenting Petwin’s public accommodation due
                                                         16   to its non-compliance with the ADA and the AzDA.
                                                         17          33.     As a result of Petwin’s non-compliance with the ADA and the AzDA,
                                                         18   disabled individuals, unlike persons without disabilities, are denied equal access.
                                                         19          34.     Upon information and belief, though Petwin may have centralized policies
                                                         20   regarding the management and operation of its office complex, Petwin does not have a
                                                         21   plan or policy that is reasonably calculated to make its entire facility fully accessible to and
                                                         22   independently usable by, disabled people.
                                                         23          35.     McCoy verified that Petwin’s public accommodation lacks the mandatory
                                                         24   elements required by the 1991 Standards and/or the 2010 Standards to make its facility
                                                         25   fully accessible to and independently usable by disabled people.
                                                         26          36.     McCoy has an interest in whether public accommodations are fully accessible
                                                         27   to, and independently usable by, individuals with disabilities, specifically including an
                                                         28   interest in ensuring that parking spaces comply with the 1991 Standards and/or the 2010

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                                                          1   Standards.
                                                          2          37.    Disabled individuals have been injured by Petwin’s discriminatory practices
                                                          3   and failure to remove architectural barriers to equal access. These injuries include being
                                                          4   deterred from using Petwin’s facilities because of the inaccessibility and/or insufficient
                                                          5   designation of appropriate parking.
                                                          6          38.    Without injunctive relief, McCoy and other disabled individuals will continue
                                                          7   to be unable to independently use Petwin’s public accommodation under the ADA and
                                                          8   the AzDA.
                                                                                                     Count One
                                                          9
                                                                                          (Violation of Title III of ADA)
                                                         10
                                                                     39.    McCoy incorporates by reference the allegations contained in the forgoing
                                                         11
                                                              paragraphs.
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                                                         12
                         Scottsdale, Arizona 85251




                                                                     40.    Petwin has discriminated against disabled individuals and others because it
                                                         13
                                                              has failed to make its public accommodation fully accessible to, and independently usable
                                                         14
                                                              by, individuals who are disabled as that term is defined under the ADA in violation of the
                                                         15
                                                              ADA.
                                                         16
                                                                     41.    Petwin has discriminated against disabled individuals because it has failed to
                                                         17
                                                              remove architectural barriers to make its public accommodation fully accessible to, and
                                                         18
                                                              independently usable by, individuals who are disabled in violation of the ADA, specifically
                                                         19
                                                              the 1991 Standards and/or the 2010 Standards, as described above.
                                                         20
                                                                     42.    Compliance with the requirements of the 1991 Standards or the 2010
                                                         21
                                                              Standards would neither fundamentally alter the nature of Petwin’s public accommodation
                                                         22
                                                              nor result in an undue burden to Petwin.
                                                         23
                                                                     43.    Compliance with the ADA is readily achievable by the Petwin because of the
                                                         24
                                                              low costs of removal of the access barriers described above. Readily achievable means
                                                         25
                                                              that providing access is easily accomplishable without significant difficulty or expense to
                                                         26
                                                              Petwin.
                                                         27

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                                                          1          44.     Injunctive relief should issue irrespective of Petwin’s potential voluntary
                                                          2   removal of the barriers to access described above pursuant to the Supreme Court's decision
                                                          3   in Friends of the Earth.1
                                                          4          45.     Petwin’s conduct is ongoing, McCoy invokes his statutory right to
                                                          5   declaratory and injunctive relief, as well as attorneys’ fees and costs, both pursuant to
                                                          6   statute and pursuant to the Private Attorney General doctrine under the ADA and
                                                          7   common law.
                                                          8          46.     Without the requested injunctive relief, specifically including the request that
                                                          9   the Court retain jurisdiction of this matter for a time period to be determined after Petwin
                                                         10   certifies that it is fully in compliance with the mandatory requirements of the ADA that are
                                                         11   discussed above, Petwin’s non-compliance with the ADA mandatory requirements may be
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                                                         12   or are likely to recur.
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                                                         13                                              Count Two
                                                         14                                      (Violation of the AzDA)
                                                         15          47.     McCoy incorporates by reference the allegations contained in the forgoing
                                                         16   paragraphs.
                                                         17          48.     McCoy has been damaged and injured by Petwin’s non-compliance with the
                                                         18   AzDA.
                                                         19          49.     Pursuant to A.R.S. § 41-1492.08 and §41-1492.09, McCoy has the right to
                                                         20   enforce the AzDA by the issuance of injunctive relief.
                                                         21

                                                         22

                                                         23   1
                                                                     Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S. Ct. 693,
                                                         24   145 L.Ed.2d 610 (2000) (It is well settled that a plaintiff’s voluntary cessation of a
                                                              challenged practice does not deprive a federal court of its power to determine the legality
                                                         25   of the practice. If it did, the courts would be compelled to leave the plaintiff free to return
                                                              to his old ways. In accordance with this principle, the standard we have announced for
                                                         26   determining whether a case has been mooted by a plaintiff’s voluntary conduct is stringent:
                                                         27   A case might become moot if subsequent events made it absolutely clear that the allegedly
                                                              wrongful behavior could not reasonably be expected to recur. The heavy burden of
                                                         28   persuading the court that the challenged conduct cannot reasonably be expected to start
                                                              up again lies with the party asserting mootness).
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                                                          1          50.    Pursuant to A.R.S. § 41-1492.08, McCoy is entitled to preventive and
                                                          2   mandatory relief.
                                                          3          51.    Mandatory relief includes relief mandated by A.R.S. § 41-1492.09 obligating
                                                          4   the Office of the Attorney General to take the actions specified in that statute.
                                                          5          52.    Pursuant to A.R.S. § 41-1492.09(B)(2), McCoy is further entitled to such
                                                          6   other relief as the Court considers appropriate, including monetary damages in an amount
                                                          7   to be proven at trial, but in no event less than $5,000.00.
                                                          8          53.    Pursuant to A.R. S. § 41-1492.09(F), McCoy is entitled to attorneys’ fees and
                                                          9   costs in an amount proven but in no event less than $5,000.00.
                                                         10                                        Prayer for Relief
                                                         11          McCoy demands judgment against Petwin as follows:
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                                                         12          1.     A declaratory judgment that at the commencement of this action Petwin was
                         Scottsdale, Arizona 85251




                                                         13   in violation of the specific requirements of the ADA described above, and the relevant
                                                         14   implementing regulations of the ADA, in that Petwin took no action that was reasonably
                                                         15   calculated to ensure that its public accommodation was fully accessible to, and
                                                         16   independently usable by, individuals with disabilities;
                                                         17          2.     Irrespective of Petwin’s “voluntary cessation” of the ADA violations, if
                                                         18   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                                                         19   36.504(a) that directs Petwin to take all steps necessary to bring its public
                                                         20   accommodation into full compliance with the requirements set forth in the ADA so that
                                                         21   the facility is fully accessible to, and independently usable by, disabled individuals,
                                                         22   specifically including ensuring that the parking spaces at the Premises comply with the
                                                         23   1991 Standards and/or the 2010 Standards as required by law, and that further directs that
                                                         24   the Court will retain jurisdiction for a period to be determined after Petwin certifies that
                                                         25   its facility is fully in compliance with the relevant requirements of the ADA to ensure that
                                                         26   Petwin has adopted and is following an institutional policy that will in fact cause Petwin to
                                                         27   remain fully in compliance with the ADA;
                                                         28

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                                                          1          3.     Irrespective of Petwin’s “voluntary cessation” of the ADA violations, if
                                                          2   applicable, payment to McCoy of the attorneys’ fees, costs, and expenses of this action;
                                                          3          4.     A declaratory judgment that at the commencement of this action Petwin was
                                                          4   in violation of the specific requirements of AzDA;
                                                          5          5.     Irrespective of Petwin’s “voluntary cessation” of the AzDA violations, if
                                                          6   applicable, a permanent injunction pursuant to the AzDA that directs Petwin to take all
                                                          7   steps necessary to bring its facility into full compliance with the requirements set forth in
                                                          8   the AzDA so that the facility is fully accessible to, and independently usable by, disabled
                                                          9   individuals, specifically including ensuring parking spaces comply with the 1991
                                                         10   Standards and/or the 2010 Standards as required by law, and that further directs that the
                                                         11   Court will retain jurisdiction for a period of time to be determined after Petwin certifies
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                                                         12   that its facility is fully in compliance with the relevant requirements of the AzDA to ensure
                         Scottsdale, Arizona 85251




                                                         13   that Petwin has adopted and is following an institutional policy that will in fact cause
                                                         14   Petwin to remain fully in compliance with the AzDA;
                                                         15          6.     For damages authorized by A.R.S. § 41-1492.09(B)(2) in an amount no less
                                                         16   than $5,000.00;
                                                         17          7.     Irrespective of Petwin’s “voluntary cessation” of the AzDA violations, if
                                                         18   applicable, payment of McCoy’s attorneys’ fees pursuant to 42 U.S.C. § 12205, 28 CFR §
                                                         19   36.505, and A.R.S. § 41-1492.09(F) and other principles of law and equity and in
                                                         20   compliance with the “prevailing party” and “material alteration” of the parties’ relationship
                                                         21   doctrines in an amount no less than $5,000.00;
                                                         22          8.     Order closure of Petwin’s place of public accommodation until Petwin has
                                                         23   fully complied with the ADA and AzDA; and
                                                         24          9.     Any other relief the Court deems proper.
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                                                                  DATED this 19th day of August, 2016.
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                                                                                                 BLYTHE GRACE PLLC

                                                          3                                      s/Robert S. Reder
                                                          4
                                                                                                 Robert S. Reder
                                                                                                 3260 North Hayden Road, Suite 103
                                                          5
                                                                                                 Scottsdale, Arizona 85251
                                                                                                 Attorneys for Plaintiff
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